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 6                         UN ITED STA TES D ISTR ICT CO URT
                                 DISTR ICT O F NEV ADA
 7
     UNITED STATES OFAMERICA,                        )
 8                                                   )
                           Plaintiff,                )
 9                                                   )                                        (
              v.                                     )          2:08-CR-311-RLH (GW F)        .
10                                                   )
     DANIM YAR DOSUNKULOV,                           )
11                                                   )
                           Defendant.                )
12

13                                FIN A L O R D ER O F FO R FEITU RE

14            On M arch 8,2011,the United StatesDistrictCourtforthe DistrictofNevada entured a

15 PreliminaryOrderofForfeiturepursuanttoFed.R,Crim.P.32.2(b)(1)and(2);andTitle18,United
16 StatesCode,Section 982(a)(1);Title 18,UnitedStatesCode,Section 98l(a)(l)(A)and Title28,
17 United StatesCode,Section2461(c);andTitle18,United StatesCode,Section981(a)(1)(C)and
                                                                                                       I
l8 Title 28,United States Code,Section 2461(c),based upon the plea of guilty by defehdant              2
                                                                                                       E

19 DANIM YAR DOSLINKULOV to acriminaloffense,forfeiting specific property alleged Sn the               '
20 SecondSupersedingcriminalIndictmentandthePleaM emorandum andshownbytheUnitedStates
21 to have arequisite nexusto the offense to which defendantDANIM YAR DOSUNKULOV pled
22 guilty D ocket #103,#275,//276,//302.
          .
                                                                                              I
                                                                                              i
                                                                                              1
23            ThisCourttindstheUnitedStatesofAmericapublishedthenoticeoftheforfeitsrein
24 accordancewiththelaw from March22,2011,through April20,2011,viatheofticialgovertment
25 intenw tforfeituresite,w ww .forfeiture.gov,notifyingallknow nthirdpartiesoftheirrightto p4tition
26 theCourt#309.
               .
                                                                                              i
                                                                                              ;
        Case 2:08-cr-00311-MMD-GWF             Document 317      Filed 06/03/11    Page 2 of 6
                                                                                              I

            ThisCourtfindsnopetition wasfiled herein byoron behalfofany person orentityand the
 1
     tim efort'
              iling such petitionsand claim shasexpired.
 2
            ThisCourtfindsnopetitionsarependingwithregardtotheassetsnam edhereinandthetime
 3
     forpresenting such petitionshasexpired.
 4
            THER EFO RE,IT IS H EREBY OR DER ED ,A DJU D GED,AN D DECREED thatal1right,
 5
     title,and interestin the property hereinafterdescribed iscondem ned,forfeited,and vested irlthe
 6
 7 United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
 8 32.2(c)(2);Title 18,United StatesCode,Section982(a)(1);Title18,UnitedStatesCode,Section
 9 981(a)(l)(A)and Title 28,United StatesCode,Section 2461(c);Title 18,United StatesCode,
10 Section981(a)(l)(C)andTitle28,UnitedStatesCode,Section246l(c);andTitle2l,UnitedStates
1l Code,Stction 853(n)(7)andshallbedisposedofaccordingtolaw:
            a.     Sony Brow n 42''Lcd Tv,Sm 1050106;
l2
            b,     Sony Brow n 42''Lcd Tv,Sm 1002050;
13
            c.     D ellM odel1320 LaserPrinter,S/N 35rphf1;
14
            d.     D ellM odel1850 LaserPrinter,Sm 1-11c34091;
15
            e.     A cerLaptop,Sm 1-,xa170x043820001et2513;
l6
            f.     D ellXpsLaptop,Sm 5vg3kdl;
17
            g,     Apple M ac Laptop,S/N W 8807f5dop1;                                        ,
18
            h.     Hp LaptopsSm 2:27222m 6q;
19                                                                                            q
            i,     M ac Book A ir,Sm W 88 13ppuy51;
20
21          j,     M iscellaneousCards,Cables,Remotes,Controllers,Stands;
            k.     3.5 X Drive,Extend H ard drive,S/hl020851;
22
            1,     Apple Tv,Sm 6f8182w 04cp;
23
                                                                                              i
            m.     W d ExternalH ard Drive,Sm * 111207674808;
24                                                                                            ï
            n.     M sr206 Encoder,Sm A 015401;
25
            o.     Psp Portable,Sm Pp865026504-11sp1001;
26                                                                                            :

                                                                                              l
                                                                                              I
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        p,    Psp Portable,Sm At045924040-1Yp2001;
 l
        q,    Ipod Touch 16 Bg,Sm 1c801671 4p)
 2
 3      r.    lphone,Sm 5k81880jwh8;
        s.    Iphone,Sm Bcgal241;
 4                                                                                 .
        t.    Iphone,S/hi5118024711M,178;
 5
        u.    Iphone,S/hi579ca1241;
 6                                                                                 .
        v.    Sandisk 2 Gb Flashdrive,Sm 2048rb;
 7
        w.    Sandisk 4 Gb Flashdrive,Sm 4O96rb;
 8
        x,    Sandisk 1 Gb Flashdrive,Sm 1024rb;
 9
       y.     Pny A ttache 1 Gb Flashdrive,No S/N ;
10
        z.    Logitech M x Revolution Thumbdrive,Sm 810-000412;
11
        aa.   lron Key Thum bdrive,Sm 0 140485;
12
        ab.   lron Key Thum bdrive,Sm 0140551;
13
        ac,   DellX ps Tow er,Sm 30ezce1;
14                                 --' -'                                          E
        ad,   Playstation 3,Sm Ce124062502-CechaO1;
15
        ae.   Playstation 3,Sm (2e514635354-(2chg01;
16                                                                                 '
       af.    X box 360,Sm 311730682105;
17
       ag,    X box 360,N o S/N ;
l8
       ah.    1-Xbox 360 Video Game;
19
       ai.    1l -Playstation 3 V ideo G am es;
20
21     aj.    6-PspGamesInCase;
       ak.    35 - Blue Ray M ovies;
22
23     al,    W tj-90aTipper;
24     am. $3,000Cash (From GaryAmbartsumyan'sroom);
25     an,    $4,900Cash (From ArturAmbartsumyan'sroom);
       ao.    $14,802.63 in M oney Gram M oney Orders;
26




                                                                                   :
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       ap.   M ens'Breitling Bentley W atch,Sm A 25362,
                                                      .

       aq,   M ens'Breitling Bentley W atch;
2
       ar    counterfeitaccess device containing unauthorized account inform ation for V isa
3
             debitcard accountin the nam e ofM .V .,accountnum berending in .
                                                                            X -4923'
                                                                                   ,

       as.   counterfeitaccess device containing unauthorized accountinformation for Visa
5
             debitcard accountin the nam e of(J,V .,accountending in X -2319.
                                                                            ,
6
7      at.   counterfeitaccessdevice containing unauthorized accountinfonnation forMisa
             debitcardaccountin the name ofC.D.,accountending inX-1918;

       au.   counterfeit access device containing unauthorized account inform ation for a
             Bank ofAmerica Visadebitcard account,accountending in X-7119.
                                                                         ,
       av.   counterfeitaccessdevice containing unauthorized accountinfonnation forBank
             ofAmerica Visa debitcard accountin the name of J.R.,accountending in X-
             4609.

       aw.   counterfeit access device containing unauthorized account information for a

             Bank ofAmerica Visa debitcard accountin the nam e ofB.J.,accountending
             in X -l577,
                       ,
      ax. counterfeit aecess device containing unauthorized accotmt information $'r a
             Bank ofAm erica V isa debitcard account,accountending in X -8491;

      ay.    counterfeitaccess device containing unauthorized accountinform ation for Bank
             ofA m erica V isa debitcard account,accountending in X-6657.
                                                                        ,

      az.    counterfeitaccess device containing unauthorized accountinformation for Bank
             ofA m erica V isa debitcard account,accountending in X-9612,
                                                                        .

      aaa. counterfeitaccessdevice containing unauthorized accountinfonnation forBank
             of Am erica V isa debitcard accountin the nam e of G .S.,account ending in X -
             2034.
                 ,
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        aab. counterfeitaccess device containing unauthorized accountinform ation forBank
              ofAmerica Visa debitcard account in the nam e of C.S.,accountending ln X-
               3846,
                   .

        m'lc, counterfeitaccessdevice containing unauthorized accountinformation forBarlk
              '

              of Am erica Visa debitcard accountin the nam e of S.K.,accountending in X-
                                                                                      (
               5010.                                                                  '

        aad. cotmterfeitaccessdevicecontaining unauthorized accountinfonnation forbank
              ofAmerica Visa debitcard accountin thename ofE.H.,accountending in X-
              4275,
                  .

        aae. counterfeitaccessdevicecontainingunauthorized accountinformation forbank
              ofAm erica Visa debitcard accountin the nam e ofB.W ,,accountending in X-
              734 1;

        aaf. counterfeitaccessdevice containing unauthorized accountinformation for3ank
              ofA m erica V isa debitcard account,accountending in X-3019;

        aag. counterfeitaccessdevice containing unauthorized accountinform ation forAank
              of Am erica Visa debitcard accountin the nam e of D,R.,accountending in X-
              4018;

        aah. counterfeitaccess device containing unauthorized accountinformation forAank
              ofAmericaVisa debitcard account,accountending in X-7017,
                                                                     '

        aai. counterfeitaccessdevicecontaining unauthorized accountinformation forsank
              ofAmericaVisa debitcard account,accountending in X-6691;
21
        aaj. counterfeit access device containing unauthorized account information for
              W ellsFargo debitcard account,numberending in X-4424.
                                                                  ,                    C
                                                                                       i
        aak. counterfeitaccess device containing unauthorized accountinform ation fora l
                                                                                      l
              WellsFargodebitcardaccount,accountnumberendinginX-7930.
                                                                    ,                 j
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                                                                                      i
        Case 2:08-cr-00311-MMD-GWF              Document 317          Filed 06/03/11   Page 6 of i6


            aal.    counterfeitaccessdevicecontaining unauthorized accountinfonnation fora l
1                                                                                                .
                    W ells Fargo debitcard account,num berending in X -6110;                     E
2                                                                                                ;
                                                                                                 I
            aam . 2008 W hite BM W M 5,V m W 85N 893548CX 09044;                                 1
3
            aan. 2008 Black M ercedesBenzG-5O0 W agon,Vm W DCYR49E38X l7l546)
4                                                                                                l
            aao. 2006BlackQuadCabDodgeDakotaTnzck,Vm 11771-1A18286.1185015;and
5
6           aap. an in personam criminalforfeitttre money judgmentof$663,089.35 in Uhited
                    States Currency.
7
            IT IS FURTHER ORDERED,ADJUDGEDSAN D DECREED thatany and a11forfeited
8
     funds,including butnotlim ited to,currency,currency equivalents,certificatesofdeposit,a: well
9
     as any incom e derived as a resultofthe United States ofA m erica'sm anagem entofany property
10
     forfeited herein, and the proceeds from the sale of any forfeited property shall be disposed of
l1
     according to law .
l2
            The Clerk is hereby directed to send copiesofthis Orderto al1counselofrecord and three     '
l3
     certified copiesto the U nited StatesA ttorney'sO ftice.
14
                             T $cëb:                            .                                :
            D ATED this       )        day of                       ,2O11.                       '
l5                                                                                               ;
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16                                                                                               '

17                                                UN ITED STA TES D ISTRICT JU D G E

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